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 5   Attorney for Defendant
     BRITTANY MAUNAKEA
 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                      )   Case No.: Cr.S-17-60 MCE
11   United States of America,                        )
                                                      )   WAIVER OF APPREARANCE FOR
12                  Plaintiff,                        )   DEFENDANT BRITTANY MAUNAKEA
                                                      )
13        vs.                                         )   Judge: Morrison C. England, Jr.
     BRITTANY MAUNAKEA, et al.,                       )
14                                                    )
                    Defendants                        )
15                                                    )
16

17          Defendant BRITTANY MAUNAKEA, hereby waives her right to be personally present

18   in open court for the hearing of any status conference, motion or other proceeding in this case,

19   except that she will agree to be personally present for any plea, sentencing or jury trial, and she

20   agrees to be personally present in court when ordered by the court to be present.

21          Defendant BRITTANY MAUNAKEA, hereby requests the court to proceed in her

22   absence. Defendant agrees that her interests will be deemed represented at all times by the

23   presence of her undersigned attorney, the same as if she were personally present. Defendant

24   further agrees to be present in court ready for trial on any date set by the court in her absence.

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 1          Defendant further acknowledges that she has been informed of his rights under the

 2   Speedy Trial Act (Title 18 U.S.C. section 3161 – 3174), and he has authorized her undersigned

 3   attorney to set times for hearings and to agree to delays under the provisions of the Speedy Trial

 4   Act with her being personally present.

 5          The original signed copy of this document will be kept in Mr. Long’s file.

 6   Dated: _________________, 2017                        Respectfully submitted,

 7

 8                                                         By: BRITTANY MAUNAKEA
                                                           Defendant
 9

10
                                                           ____________________________
                                                           By: Michael D. Long
11                                                         Attorney for Defendant
                                                           BRITTANY MAUNAKEA
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13
            GOOD CAUSE APPEARING, Defendant BRITTANY MAUNAKEA’s waiver of
14
     personal appearance is accepted by the court.
15
            IT IS SO ORDERED.
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     Dated: August 31, 2017
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